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                              UNITED STATES BANKRUPTCY COURT
                                           FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

        In the Matter of:

        MARK ANTHONY ANDERSON                                 Chapter 13
                               DEBTOR
        DITECH FINANCIAL, LLC.                                Case No. 19-10888-KHK
                               Movant

               v.

        Mark Anthony Anderson
        and
        Thomas P. Gorman, Trustee,




                               ANSWER AND REPORT OF TRUSTEE
                                TO RELIEF FROM STAY MOTION


               COMES NOW Thomas P. Gorman, the Chapter 13 Trustee named upon this

        Motion for Relief from Stay, and for his Answer and Report to this matter, submits the

        following.

               (1)     The Plan of this Chapter 13 Case was confirmed by the Court on MAY 22,

        2019, and provides for payment of the secured creditor as follows:

                       (a)     Pre-petition arrearage claim of $61,091.54 by monthly installments
                               of $1,018.19 from the payments made under this confirmed Plan.

                       (b)     Post-petition regular monthly payments directly by the Debtor.

               (2)     No record of Post-petition regular monthly installments is maintained by

        this Trustee; and he is without sufficient knowledge, information or belief to answer

        allegations of the Motion regarding failure of the Debtor to make such installments; and

        that this Trustee demands strict proof thereof.
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               (3)     The payments to date on the arrearage claim of this Secured Creditor are

        reflected opposite the name of the Secured Creditor on the attached periodic report of the

        accounts of this Chapter 13 case; and that such periodic report represents a true and

        correct statement of all receipts and disbursements in this Chapter 13 case to the date

        indicated.

               AND HAVING FULLY ANSWERED, your Trustee prays for such disposition of

        this Motion as to this Court seems just.


        Date: July 25, 2019                         __/s/ Thomas P. Gorman ____________
                                                    Thomas P. Gorman
                                                    Chapter 13 Trustee
                                                    300 North Washington Street, Ste. 400
                                                    Alexandria, VA 22314
                                                    (703) 836-2226
                                                    VSB 26421


                                     CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Answer & Report of Trustee was served via
        ECF to authorized users or mailed to counsel for the Movant and counsel for the Debtor,
        or to Debtor Pro Se, this 25th day of July, 2019.


                                                    _/s/Thomas P. Gorman___________
                                                    Thomas P. Gorman
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                                                     INTERIM STATEMENT AS OF 07/25/2019
 CASE NO: 19-10888-KHK
STATUS: BASE PLAN
                                        DEBTOR: XXX-XX-4725
                                        ANDERSON, MARK ANTHONY                                                             SCHEDULE:             420.00 MONTHLY
                                 AKA:                                                                                     TOTAL PAID:                    1,050.00
      DATE FILED: 03/20/2019            1411 ADMIRAL DRIVE                                                                        LAST 12 TRANSACTIONS
                                        WOODBRIDGE, VA 22192                                                             Date           Source                Amount
      CONFIRMED: 05/22/2019
                                                                                                                         07/16/19 NESTLE WATERS              210.00
      LATEST 341: 04/30/2019                                                                                             05/07/19 PC/ANDERSON, LATA          420.00
   PERCENTAGE:            .000                   ATTORNEY: NATHAN FISHER, ESQ.                                           04/16/19 PC/ANDERSON, LATA          420.00
                                                           FISHER-SANDLER, LLC
             PLAN: 60 MONTHS                               3977 CHAIN BRIDGE RD. #2
                                                           FAIRFAX, VA 22030
      1st PAYMENT DUE: 04/2019                             Phone:703 691-1642 Fax: 703 691-0192
           ON SCHEDULE:             1,260.00          Needed to Complete Base:
      ACTUAL PAYMENTS:              1,050.00                              BASE:         68,670.00
        AMOUNT BEHIND:                  210.00                                          67,620.00




PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                   DISB CODE CLASS INT. BEGIN                 FIX PAY ORG. CLAIM        APPROVED        PRIN. PAID      PRIN. DUE
          NO        CLAIM REMARK                    LAST DISB PAY%     INT. RATE               ARREARS SCHED AMT         TO BE PAID       INT. PAID       INT. DUE
001       350384    DITECH FINANCIAL LLC              FIX      SEC                              1,018.19     61,091.54      61,091.54             0.00    61,091.54
                                                                100.00                          3,054.57     59,120.97      61,091.54             0.00         0.00
002       310181    APPLE FEDERAL CREDIT UNION****    PRO      UNS                                  0.00      4,610.64       4,610.64             0.00         0.00
                                                                  0.00                              0.00      4,783.00           0.00             0.00         0.00
003       319657    APPLE FEDERAL CREDIT UNION        PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      1,904.00           0.00             0.00
004       326070    BARCLAYS BANK                     PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      2,881.00           0.00             0.00
005       326070    BARCLAYS BANK                     PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      2,371.00           0.00             0.00
006       334875    CAPITAL ONE                       PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      2,511.00           0.00             0.00
007       311188    CAPITAL ONE                       PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00        883.00           0.00             0.00
008       343490    US DEPARTMENT OF EDUCATION        PRO      UNS                                  0.00      2,901.78       2,901.78             0.00         0.00
                                                                  0.00                              0.00      5,214.25           0.00             0.00         0.00
009       LVNV      LVNV FUNDING LLC.                 PRO      UNS                                  0.00      3,695.70       3,695.70             0.00         0.00
                                                                  0.00                              0.00      2,893.00           0.00             0.00         0.00
010       317460    PAYPAL BUYER CREDIT               PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      1,800.00           0.00             0.00
011       350242    RIVERVIEW OVERLOOK COMM ASSOC PRO-A        SEC                                  0.00      1,813.42       1,813.42             0.00     1,813.42
                    LISTED U/S FILED S/C - NEED OBJ             100.00                              0.00      1,817.72       1,813.42             0.00         0.00
012       339824    SYNCHRONY BANK                    PRO      UNS                                  0.00          0.00           0.00             0.00     Not Filed
                                                                  0.00                              0.00      1,492.00           0.00             0.00
013       349876    VERIZON BY AMERICAN INFOSOURCE    PRO-A    UNS                                  0.00        286.90         286.90             0.00         0.00
                    UNLISTED                                      0.00                              0.00          0.00           0.00             0.00         0.00




** Creditor has not filed a Proof of Claim. Accumulated funds will be released to other creditors if no claim is filed with the U.S. Bankruptcy Court
by the date of the scheduled Chapter 13 Review Meeting.
Claims with an A code in the DISB/CODE column are placed on hold and need to be resolved. NO disbursements are being made to the creditor.
This is a progress report only and should not be used to calculate a payoff.                                                             Case Maintenance 10.5
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                                        ANDERSON, MARK ANTHONY                                                             SCHEDULE:          420.00 MONTHLY
PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                          DISB CODE CLASS         INT. BEGIN    FIX PAY ORG. CLAIM       APPROVED      PRIN. PAID      PRIN. DUE
          NO        CLAIM REMARK                           LAST DISB PAY%          INT. RATE     ARREARS SCHED AMT        TO BE PAID     INT. PAID       INT. DUE
799       FISHER    NATHAN FISHER, ESQ.                      PRO          ATY                         0.00    3,000.00       2,500.00        783.80       1,716.20
                                                             05/2019      100.00                      0.00    3,000.00       2,500.00          0.00           0.00
                    Trustee Administrative Fees                                                                                 54.60         54.60
                                                                         TOTALS:                   1,018.19   77,399.98     76,954.58        838.40      64,621.16
                                                                                                   3,054.57   90,670.94     65,459.56          0.00           0.00


                             ADMIN        ATTORNEY         PRIORITY          SECURED       UNSECURED           OTHER

      SCHED AMOUNT:              0.00         3,000.00           0.00         60,938.69         26,732.25          0.00
      CLAIM AMOUNT:              0.00         2,500.00           0.00         62,904.96              0.00          0.00
   PAID BY TRUSTEE:              0.00             783.80         0.00               0.00             0.00          0.00
  PAID BY 3rd PARTY:             0.00               0.00         0.00               0.00             0.00          0.00

         SUB TOTAL:              0.00         1,716.20           0.00         62,904.96              0.00          0.00         DUE CREDITORS:           64,621.16
      INTEREST DUE:              0.00               0.00          0.00              0.00             0.00          0.00        EXPECTED ADMIN:            2,683.73
        CONTINUING:              0.00               0.00         0.00               0.00             0.00          0.00         LESS AVAILABLE:            211.60

       BALANCE DUE:              0.00         1,716.20           0.00         62,904.96              0.00          0.00       APPROX BALANCE:            67,093.29




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